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 1                                                           November 17, 2021


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 8                           UNITED STATES DISTRICT COURT

 9                         CENTRAL DISTRICT OF CALIFORNIA

10                                               Case No. 8:20-cv-01184-SB (DFMx)
     MARY KATHERINE GREEN-TODD,
11   et al.,                    ORDER OF DISMISSAL WITH
                                PREJUDICE
12
13                              Plaintiffs,
14
     v.
15
     MONSANTO COMPANY,
16
17                              Defendant.
18
19
20         Having reviewed the Parties’ Stipulation for Dismissal with Prejudice, the
21   Court hereby grants the Parties’ request and dismisses this action in its entirety with
22   prejudice. Each party is to bear their own fees and costs.
23
24         IT IS SO ORDERED.
25
26   Dated: November 17, 2021         _______________________________________
27                                         STANLEY BLUMENFELD, JR.
                                         UNITED STATES DISTRICT JUDGE
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